       Case 5:19-cv-01242-LHK Document 164 Filed 10/13/20 Page 1 of 5



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15   AMERICA, INC.
16
                                UNITED STATES DISTRICT COURT
17
                               NORTHERN DISTRICT OF CALIFORNIA
18

19   GREGORY HANDLOSER and                      Case No. 5:19-cv-01242-LHK (VKD)
     CERAFIN CASTILLO,
20                                              DECLARATION OF SUNIL KHANNA IN
                 Plaintiffs,                    SUPPORT OF DEFENDANTS’
21                                              ADMINISTRATIVE MOTION TO SEAL
          v.                                    DOCUMENTS IN SUPPORT OF
22                                              PLAINTIFFS’ MOTION FOR CLASS
     HCL TECHNOLOGIES LTD. and HCL              CERTIFICATION
23   AMERICA, INC.,
24               Defendants.
25

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                                                            Case No. 5:19-cv-01242-LHK (VKD)
      DECLARATION OF SUNIL KHANNA IN SUPPORT OF DEFENDANTS’ ADMINISTRATIVE MOTION TO
          SEAL DOCUMENTS IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
         Case 5:19-cv-01242-LHK Document 164 Filed 10/13/20 Page 2 of 5



 1                                DECLARATION OF SUNIL KHANNA
 2          I, Sunil Khanna, declare as follows:
 3          1.      I am currently employed by HCL America, Inc. (“HCLA”) as an Associate Vice
 4   President in Human Resources (“HR”). I have personal knowledge of the facts contained in this
 5   declaration and if called upon to do so, I would testify competently to such facts under oath.
 6          2.      I began in this role in approximately July 2018. In my current role, I am responsible
 7   for North American HR operations, which includes United States, Canada, and Mexico. Previously,
 8   I led the global people practices of the Engineering and Research & Development Services line of
 9   business for approximately two years. Before that, I was the global benefits lead in the Center of
10   Excellence. In total, I have been employed with HCLA or HCL Technologies Ltd. (“HCLT,”
11   together with HCLA and other HCLT subsidiaries, “HCL”) in an HR-related capacity since
12   approximately 1994. Based on my twenty-plus years in HCL’s HR department, I am familiar with
13   HCL’s U.S. employment policies and practices for recruiting, hiring, staffing, and terminations.
14          3.      I have reviewed the Exhibits to Plaintiffs’ Motion for Class Certification.            In
15   connection with that motion, I understand Plaintiffs filed an Administrative Motion to File Under
16   Seal to file under seal 38 Exhibits. HCL joins Plaintiffs’ motion to file under seal Exhibits 3, 5, 6,
17   7, 9, 10, 11, 13-19, 21-25, 27-29, 31, 33, 35-39, 44, and 45 (the “Exhibits”) to Plaintiffs’ Motion for
18   Class Certification.
19          4.      HCL provides information technology (“IT”) consulting services to a variety of
20   clients across the nation (and abroad). As a consulting firm, HCL’s business revenue model is based
21   on offering its clients the services of highly-skilled IT talent. As a result, HCL’s competitive standing
22   in the industry is dependent on the success of HCL’s recruiting and staffing practices and operations.
23   HCL has devoted, and continues to devote, an extraordinary amount of time, money, and human
24   resources toward developing and optimizing internal processes and operations for recruiting and
25   staffing IT personnel.
26          5.      Exhibits 3, 5, 21, 25, 28, 36, and 44 contain highly sensitive information regarding
27   HCL’s internal data and analyses regarding, for example, licensing fees, skillsets of different
28   employee populations, approval rates of visa applications, and resource utilization percentages by
                                              1              Case No. 5:19-cv-01242-LHK (VKD)
       DECLARATION OF SUNIL KHANNA IN SUPPORT OF DEFENDANTS’ ADMINISTRATIVE MOTION TO
           SEAL DOCUMENTS IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
         Case 5:19-cv-01242-LHK Document 164 Filed 10/13/20 Page 3 of 5



 1   geography, as well as metrics comparing the availability of IT staff and client demands for
 2   specialized skillsets on a global scale. These documents also contain sensitive financial information
 3   about recruiting and staffing, such as budgets and wage-related expenses.
 4          6.      Exhibits 6, 13, and 14 are internal decks about HCL’s Talent Supply Chain and
 5   Workforce Planning Cell (“WPC”), which is responsible for identifying and staffing potential
 6   internal candidates in open positions. These documents describe specifics about recruiting and
 7   staffing workflow, strategic initiatives for internal job fulfillment and cost optimizations, interview
 8   criteria, recruiting channels, utilizing systems to manage client demand, redeployment forecasts, and
 9   tenure and retention efforts.
10          7.      Exhibits 7, 15, 16, 17, 18, 19, 22, 23, 24, 31, and 33 contain internal discussions
11   between HCL employees about highly sensitive information regarding HCL’s decision-making and
12   business strategies on recruitment and client fulfillment efforts, including, for example, discussions
13   on addressing certain staffing shortages, any travel issues related to fulfilling client requests at
14   different geographic locations, and any specialized skillsets each client requires. These documents
15   also contain HCL’s clients’ IT needs, which clients expect HCL to keep confidential.
16          8.      Exhibit 9 is a summary of HCL’s Capability, Development, and Execution (“CDEX”)
17   framework and Exhibit 10 is the CDEX framework. CDEX is a complete taxonomy of HCL jobs
18   organized and grouped in multiple different ways, designed by HCL to strengthen its competencies
19   and meet client demand. CDEX is also closely tied to HCL’s revenue model.
20          9.      Exhibit 11 is an excerpt of the transcript of my deposition, and Exhibit 35 is HCL’s
21   responses to Plaintiffs’ Special Interrogatories No. 1 and 2. These documents contain information
22   regarding HCL’s processes for employee onboarding through termination, data and systems related
23   to employee allocations and different HCL subsidiaries, and plans and efforts to implement
24   affirmative action plans.
25          10.     Exhibits 27 and 29 contain personal and private contact information, including but
26   not limited to their names, personal email and phone number, date of birth, and the last four digits of
27   their social security number, of applicants or employees who are not parties to this lawsuit.
28          11.     Exhibits 37, 38, and 39 are, respectively, the August 4, 2020 Expert Report of David
                                              2              Case No. 5:19-cv-01242-LHK (VKD)
       DECLARATION OF SUNIL KHANNA IN SUPPORT OF DEFENDANTS’ ADMINISTRATIVE MOTION TO
           SEAL DOCUMENTS IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
         Case 5:19-cv-01242-LHK Document 164 Filed 10/13/20 Page 4 of 5



 1   Neumark, the September 16, 2020 Rebuttal Report of David Neumark, and the Expert Report of J.
 2   Michael Dumond (together, “Expert Reports”). These Expert Reports discuss findings derived from
 3   sensitive, confidential data from HCL’s applicant tracking and other related systems, including
 4   HCL’s hiring practices, the number of employees and employee attrition rate in the different career
 5   levels, the number of distinct clients, and the number of distinct projects.
 6          12.     Exhibit 45 is Plaintiffs’ selected compilation of internal recruiting remarks regarding
 7   numerous HCL job requisitions. This document also reveals internal recruitment techniques, and
 8   specific technical skillsets to identify for each position. HCL does not publicly disclose the
 9   information these recruitment techniques.
10          13.     HCL does not publicly disclose the data, analysis, strategy, financial, third-party, and
11   client information contained in the Exhibits described above.
12          14.     Based on my work experience at HCL, I know there is immense competition
13   nationally for the IT talent that HCL’s business model is based on. As I said above, I also know that
14   HCL has devoted, and continues to devote, an extraordinary amount of time, money, and human
15   resources toward developing its processes for recruiting and staffing IT staff.
16          15.     The Exhibits identified above, especially when considered collectively, contain
17   competitively sensitive information related to the manner and means by which HCL recruits and
18   staffs IT personnel. Based on my work experience at HCL, I believe that HCL may suffer
19   competitive injury if other companies, particularly IT consulting companies, were to gain access to
20   the materials, especially if they gain access to these materials collectively. Other companies could
21   use these materials to discern HCL’s strategies, techniques, revenue model, and business processes
22   for recruiting, staffing, and fulfilling client demands. Companies can use this information to gain a
23   competitive advantage when competing for clients or even in other circumstances, such as when
24   negotiating IT service contracts. Public disclosure of this information would diminish the value of
25   HCL’s business model and its recruiting and staffing operations which, as mentioned above, HCL
26   has devoted and continues to devote substantial time, money, and resources to developing.
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                                              3              Case No. 5:19-cv-01242-LHK (VKD)
       DECLARATION OF SUNIL KHANNA IN SUPPORT OF DEFENDANTS’ ADMINISTRATIVE MOTION TO
           SEAL DOCUMENTS IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
        Case 5:19-cv-01242-LHK Document 164 Filed 10/13/20 Page 5 of 5



 1          I declare under penalty of perjury under the laws of the United States of America that the
 2   foregoing is true and correct.
 3

 4   DATED: October 13, 2020
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                                                    By:
 7                                                        Sunil Khanna
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                                              4              Case No. 5:19-cv-01242-LHK (VKD)
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